Case 2:18-cr-00422-DJH Document 1025-1 Filed 06/19/20 Page 1 of 4




                EXHIBIT A
         Case 2:18-cr-00422-DJH Document 1025-1 Filed 06/19/20 Page 2 of 4




                    Summary of Government’s Suggested Protocols

Jurors

   · Court could use staggered arrival times for potential jurors

   · Court could use several staging areas to facilitate social distancing for potential jurors

   · Court could use video teleconferencing for preliminary and general instructions and
     as a supplement to juror questionnaires on basic questions

   · Court could conduct voir dire with small groups of jurors until a full jury is selected

   · Court could consider seating potential and selected jurors in the courtroom gallery,
     with sufficient space to encourage social distancing

   · Court could allow jurors to take breaks and deliberate in a spacious, unused
     courtroom

   · Court could allow jurors to breaks and lunch in the large juror assembly room,
     immediately downstairs from and underneath the SPC

   · Court could make personal protective equipment, including face masks and/or
     transparent face shields, available to jurors

   · Court could require jurors to bring and wear their own face coverings

   · Court could reimburse jurors for parking to avoid issues related to public
     transportation

   · Court could safely provide lunch to jurors

   · Court could ask jurors to bring their own food as well as determine where jurors can
     eat lunch and maintain social distancing

Witnesses

   · parties may coordinate with potential witnesses as early as possible regarding service
     of subpoenas and transportation issues, and discuss any health concerns, risk factors,
     travel restrictions, or state or local quarantine requirements
      Case 2:18-cr-00422-DJH Document 1025-1 Filed 06/19/20 Page 3 of 4




   · government recommends that witnesses not wear face coverings while testifying to
     avoid constitutional issues

   · Court and parties can consider ways to protect witnesses and other trial participants,
     including by providing additional space and using plexiglass screens or transparent
     face coverings

Trial Mechanics

   · To maximize social distance during the course of trial, the parties should plan ahead
     regarding seat arrangements for counsel, Defendants and support staff to maintain
     social distancing

   · Court and parties should evaluate options for social distancing within the courtroom

   · Court should conduct a walkthrough or mock trial with the parties and court
     personnel to identify issues with social distancing and protecting the safety of
     participants

   · Court should use transparent plastic or plexiglass screens where possible to minimize
     interactions between court staff and attorneys

   · Court should use microphones at counsel table to conduct conferences and sidebars

   · Court could allow defense counsel to use the interpreter headsets in the courtroom to
     communicate with their clients while maintaining adequate distance between one
     another

   · government intends to conduct a paperless trial using technology to minimize the
     need to approach witnesses or handle physical exhibits

   · Court should reorganize the courtroom for social distancing trial presentation
     software (Trial Director) or the document camera (Elmo), so parties can evaluate
     technological options to ensure jurors can effectively review evidence (preloaded
     iPads for deliberation, the use of Jury Evidence Recording System (JERS), computer
     and thumb drives, etc.), including digital evidence, in courtrooms

   · parties, at the direction of the Court and the General Services Administration, can
     evaluate plans for sanitizing court facilities throughout the phases of the trial and the
     Court can communicate safety measures to prospective jurors in advance



                                              2
      Case 2:18-cr-00422-DJH Document 1025-1 Filed 06/19/20 Page 4 of 4




Jury Instructions and Deliberations

   · Court may instruct jurors via closed circuit video or in pre-recorded instructions to
     shorten the length of time in court

   · parties can evaluate which rooms will allow for safe social distancing during
     deliberations, including clearing the courtroom for deliberations and using
     microphones or other means of amplifying voices to ensure effective communication
     among jurors

Venue/Public Access

   · Court should use the Special Proceedings Courtroom (SPC) in the Phoenix
     Courthouse, by itself or in conjunction with overflow space in another room where
     members of the public and press could view courtroom proceedings via closed-circuit
     video

   · Court could set up a closed-circuit broadcast of proceedings available in a separate
     room to facilitate public access, if there is insufficient space to allow adequate social
     distancing for the public in the courtroom




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